  Case: 4:01-cr-00374-CAS Doc. #: 52 Filed: 10/29/10 Page: 1 of 1 PageID #: 66



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
               Plaintiff,                       )
                                                )
       v.                                       )           No. 4:01-CR-374 CAS
                                                )
HAISSAM A. NASHAR,                              )
                                                )
               Defendant.                       )

                                            ORDER

       This closed criminal matter is before the Court on movant Mohamad Youssef Hammoud’s

motion to unseal the plea agreement and related documents. In his motion, Mr. Hammoud requests

that the Court unseal the plea agreement and related documents, including but not limited to the

Stipulation of Facts Relative to Sentencing and the transcript of the plea hearing, in the above-

captioned case. Mr. Hammoud states that these documents are highly relevant to his criminal

sentencing, which is set for November 16, 2010. Because this is a time-sensitive matter, the Court

will order the parties in this action to respond to movant’s motion on or before Tuesday, November

2, 2010.

       IT IS HEREBY ORDERED that the government and defendant Haissam A. Nashar shall

respond to movant Mohamad Youssef Hammoud’s motion to unseal the plea agreement and related

documents by Tuesday, November 2, 2010.




                                                 CHARLES A. SHAW
                                                 UNITED STATES DISTRICT JUDGE


Dated this 29th day of October, 2010.
